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6

7                         UNITED STATES DISTRICT COURT
8                      SOUTHERN DISTRICT OF CALIFORNIA
9

10   WENDELL PAYNE,                            Case No. 13-cv-01996-WQH-BGS
11                  Plaintiff,
12                                NOTICE OF VOLUNTARY
           vs.
                                  DISMISSAL WITHOUT
13   PIONEER CREDIT RECOVERY, PREJUDICE
     INC.; and DOES 1 through 10,
14   inclusive,
15                  Defendants.
16

17

18         Pursuant to FRCP 41a(1), Plaintiff, WENDELL PAYNE, by and though his
19
     attorney, hereby voluntarily dismisses the above-entitled case without prejudice.
20

21                                              RESPECTFULLY SUBMITTED,

22     DATED: September 4, 2013                 PRICE LAW GROUP APC

23                                            By:/s/ G. Thomas Martin, III
                                                     G. Thomas Martin, III
24                                                   Attorney for Plaintiff
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                                   Notice of Voluntary Dismissal
